     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 1 of 23



 1   XAVIER BECERRA
     Attorney General of California
 2   ROBERT W. BYRNE
     SALLY MAGNANI
 3   MICHAEL L. NEWMAN
     Senior Assistant Attorneys General
 4   MICHAEL P. CAYABAN
     CHRISTINE CHUANG
 5   EDWARD H. OCHOA
     Supervising Deputy Attorneys General
 6   BRIAN J. BILFORD
     NOAH M. GOLDEN-KRASNER
 7   SPARSH S. KHANDESHI
     HEATHER C. LESLIE
 8   JANELLE M. SMITH
     JAMES F. ZAHRADKA II
 9   LEE I. SHERMAN (SBN 272271)
     Deputy Attorneys General
10    300 S. Spring St., Suite 1702
      Los Angeles, CA 90013
11    Telephone: (213) 269-6404
      Fax: (213) 897-7605
12    E-mail: Lee.Sherman@doj.ca.gov
     Attorneys for Plaintiff State of California
13
                                 IN THE UNITED STATES DISTRICT COURT
14
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                               OAKLAND DIVISION
16

17

18   STATE OF CALIFORNIA et al.;                              Case No. 4:19-cv-00872-HSG

19                                        Plaintiffs, PLAINTIFF STATES OF CALIFORNIA
                                                      AND NEW MEXICO’S REPLY IN
20                 v.                                 SUPPORT OF MOTION FOR PARTIAL
                                                      SUMMARY JUDGMENT REGARDING
21                                                    SECTIONS 284, 8005, AND 9002, AND
     DONALD J. TRUMP, in his official capacity OPPOSITION TO DEFENDANTS’
22   as President of the United States of America MOTION FOR PARTIAL SUMMARY
     et al.;                                          JUDGMENT
23
                                              Defendants. Judge:            The Honorable Haywood S.
24                                                                          Gilliam, Jr.
                                                              Trial Date:   None set
25                                                            Action Filed: February 18, 2019

26

27

28

     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG                       Document 183                 Filed 06/24/19             Page 2 of 23



 1                                                     TABLE OF CONTENTS
 2                                                                                                                                        Page
 3   INTRODUCTION .......................................................................................................................... 1
     ARGUMENT .................................................................................................................................. 1
 4
          I.   California and New Mexico Are Entitled to Partial Summary Judgment that
 5             Defendants’ Actions Are Unlawful ......................................................................... 1
               A.          Defendants Exceeded Their Authority Under §§ 8005, 9002, and
 6                         284 ............................................................................................................... 1
 7                         1.          Defendants Cannot Preclude Judicial Review ................................ 1
                           2.          Defendants Exceeded Their Authority Under § 8005 ..................... 4
 8
                           3.          Defendants Have Exceeded Their Authority Under § 9002 ........... 5
 9                         4.          Defendants Have Exceeded Their Authority Under § 284 ............. 6
10             B.          Defendants’ Actions Violate the United States Constitution ...................... 7
                           1.          Defendants Violated Separation of Powers Principles.................... 8
11
                           2.          Defendants Violated the Appropriations Clause ............................. 9
12                         3.          Defendants Violated the Presentment Clause ............................... 10
13             C.          Defendants Have Violated the APA ......................................................... 11
          II.  California and New Mexico Are Entitled to Injunctive Relief ............................. 12
14
               A.          California and New Mexico Would Suffer Irreparable Harm .................. 12
15                         1.          Harms to California’s and New Mexico’s Sovereignty ................ 12
16                         2.          Harms to California’s and New Mexico’s Environment,
                                       Wildlife, and Natural Resources ................................................... 13
17             B.          The Balance of Hardships and Public Interest Favor Granting a
                           Permanent Injunction ................................................................................ 14
18
               C.          Enjoining Any Use of §§ 8005, 9002, and 284 for Barrier
19                         Construction in California and New Mexico Is Appropriate .................... 15
     CONCLUSION ............................................................................................................................. 15
20

21

22

23

24

25

26

27

28
                                                                           i
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG                       Document 183                 Filed 06/24/19             Page 3 of 23



 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                        Page
 3   CASES
 4   Armstrong v. Exceptional Child Ctr., Inc.
        135 S. Ct. 1378 (2015) ................................................................................................................1
 5

 6   Associated Gen. Contractors of California, Inc. v. Coal. for Econ. Equity
        950 F.2d 1401 (9th Cir. 1991)...................................................................................................14
 7
     Citizens to Preserve Overton Park, Inc. v. Volpe
 8       401 U.S. 402 (1971) ....................................................................................................................3

 9   City of Sausalito v. O’Neill
         386 F.3d 1186 (9th Cir. 2004).................................................................................................2, 3
10
     Clarke v. Sec. Indus. Ass’n
11
        479 U.S. 388 (1987) ................................................................................................................2, 3
12
     Clinton v. City of New York
13       524 U.S. 417 (1998) ........................................................................................................7, 11, 13

14   Crickon v. Thomas
        579 F.3d 978 (9th Cir. 2009).....................................................................................................11
15
     Dalton v. Specter
16      511 U.S. 462 (1994) ................................................................................................................7, 8
17
     E. Bay Sanctuary Covenant v. Trump
18       909 F.3d 1219 (9th Cir. 2018)...................................................................................................15

19   Feldman v. Wood
        335 F.2d 264 (9th Cir. 1964).......................................................................................................5
20
     First Nat’l. Bank & Tr. Co. v. Nat’l Credit Union Admin.
21       988 F.2d 1272 (D.C. Cir. 1993) ..................................................................................................4
22
     Haitian Refugee Ctr. v. Gracey
23      809 F.2d 794 (D.C. Cir. 1987) ....................................................................................................1

24   Kansas v. United States
        249 F.3d 1213 (10th Cir. 2001).......................................................................................3, 12, 13
25
     Lexmark Int’l, Inc. v. Static Control Components, Inc.
26      572 U.S. 118 (2014) ....................................................................................................................2
27   Lincoln v. Vigil
28      508 U.S. 182 (1993) ....................................................................................................................5
                                                                          ii
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG                        Document 183                 Filed 06/24/19             Page 4 of 23



 1                                                   TABLE OF AUTHORITIES
                                                           (continued)
 2                                                                                                                                         Page
 3    CASES
 4    Mach Mining, LLC v. E.E.O.C.
        135 S. Ct. 1645 (2015) ................................................................................................................3
 5

 6    Maryland v. King
        567 U.S. 1301 (2012) ................................................................................................................12
 7
      Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak
 8       567 U.S. 209 (2012) ....................................................................................................................2

 9    Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co.
         463 U.S. 29 (1983) ....................................................................................................................12
10
      Nat’l Wildlife Fed’n v. Burlington N.R.R.
11
         23 F.3d 1508 (9th Cir. 1994).....................................................................................................14
12
      Nevada v. DOE
13       400 F.3d 9 (D.C. Cir. 2005) ..................................................................................................9, 10

14    New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co.
         434 U.S. 1345 (1977) ................................................................................................................12
15
      Nken v. Holder
16       556 U.S. 418 (2009) ..................................................................................................................15
17
      Office of Pers. Mgmt v. Richmond
18        496 U.S. 414 (1990) ....................................................................................................................9

19    Rodriguez v. Robbins
         715 F.3d 1127 (9th Cir. 2013)...................................................................................................15
20
      Salazar v. Ramah Navajo Chapter
21       567 U.S. 1820 (2012) ..................................................................................................................9
22
      Scheduled Airlines Traffic Offices, Inc. v. Dep’t of Def.
23       87 F.3d 1356 (D.C. Cir. 1996) ................................................................................................2, 3

24    United States v. Will
         449 U.S. 200 (1980) ..................................................................................................................10
25
      Whitman v. Am. Trucking Ass’ns
26       531 U.S. 457 (2001) ....................................................................................................................6
27    Youngstown Sheet & Tube Co. v. Sawyer
28       343 U.S. 579 (1952) ................................................................................................................7, 8

                                                                          iii
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG                          Document 183                 Filed 06/24/19               Page 5 of 23



 1                                                     TABLE OF AUTHORITIES
                                                             (continued)
 2                                                                                                                                              Page
 3    CASES
 4    Zadvydas v. Davis
         533 U.S. 678 (2001) ....................................................................................................................7
 5

 6    FEDERAL STATUTES

 7    5 U.S.C.
         § 706(2)(A)................................................................................................................................11
 8       § 706(2)(B)-(C) .........................................................................................................................11

 9    10 U.S.C.
         § 284 .................................................................................................................................. passim
10
         § 284(b)(7) ................................................................................................................................10
11       § 284(h)(1)(B), (i)(3)...................................................................................................................6
         § 2801(a) .....................................................................................................................................6
12
      Pub. L. No. 101-511, 104 Stat. 1856 (1990) ...................................................................................10
13
      Pub. L. No. 109-234, 120 Stat. 418 (2006) .....................................................................................10
14
      Pub. L. No. 110-116, 121 Stat. 1295 (2007) ...................................................................................10
15
      Pub. L. No. 115-245, 132 Stat. 2981 (2018) ........................................................................... passim
16

17    Pub. L. No. 116-6, 133 Stat. 13 (2019) .............................................................................................8

18    OTHER AUTHORITIES

19    Government Accountability Office, Office of the General Counsel, Principles of
         Federal Appropriations Law (4th Ed. 2017) (GAO Red Book) ...........................................9, 10
20
      H.R. Rep. No. 93-662 (1973) ............................................................................................................3
21
      H.R. Rep. No. 101-665 (1990) ......................................................................................................3, 6
22

23

24

25

26

27

28
                                                                             iv
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 6 of 23



 1                                                INTRODUCTION

 2         In their Opposition, 1 Defendants raise no new arguments sufficient to change this Court’s

 3   prior conclusion that Defendants acted unlawfully by diverting DOD funds appropriated for other

 4   purposes toward border barrier construction that Defendants requested but Congress denied. The

 5   record now is even stronger that Defendants not only acted ultra vires, but violated the United

 6   States Constitution and the APA. Defendants have also raised no genuine disputes of material fact

 7   to rebut California’s and New Mexico’s (Plaintiff States or States) irreparable injuries caused by

 8   the diversions. And the border barrier does not advance the United States’ interest in drug

 9   interdiction enough to outweigh the public interest in enjoining unlawful and unconstitutional

10   executive branch conduct, enforcing the States’ duly enacted laws, and protecting the States’

11   environment. The States are entitled to a declaratory judgment and injunction of the transfer,

12   obligation, and use of funds via §§ 8005, 9002, and 284 toward construction of border barriers in

13   California and New Mexico. This Court should grant Plaintiff States’ motion for partial summary

14   judgment and deny Defendants’ cross-motion.

15                                                   ARGUMENT

16   I.    CALIFORNIA AND NEW MEXICO ARE ENTITLED TO PARTIAL SUMMARY JUDGMENT
           THAT DEFENDANTS’ ACTIONS ARE UNLAWFUL
17
           A.     Defendants Exceeded Their Authority Under §§ 8005, 9002, and 284
18

19                1.     Defendants Cannot Preclude Judicial Review

20           Defendants’ argument that the Plaintiff States are not within the zone of interests of

21   §§ 8005 and 9002—and, for the first time, § 284, Opp’n 9-10, 12-13—fails. As this Court

22   correctly recognized, an equitable cause of action is available when the executive acts in excess

23   of statutory authority. States PI Order 10-12 (citing, inter alia, Armstrong v. Exceptional Child

24   Ctr., Inc., 135 S. Ct. 1378, 1384 (2015)); Sierra Club PI Order 28-30. Since Defendants do not

25   argue that Plaintiff States lack Article III standing, see Opp’n 9-10, 12-13, that should be the end

26   of the inquiry. See Haitian Refugee Ctr. v. Gracey, 809 F.2d 794, 811 n.14 (D.C. Cir. 1987).

27   1
      Defendants’ affirmative cross-motion for partial summary judgment is inconsistent with the
     Court’s Scheduling Order (ECF No. 174). To the extent the Court considers Defendants’
28   premature affirmative motion, Plaintiff States respond to that motion herein.
                                                      1
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 7 of 23



 1           But even if the zone of interests test applies, Plaintiff States satisfy it. The zone of

 2   interests test is “generous,” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118,

 3   130 (2014), and “not meant to be especially demanding,” Match-E-Be-Nash-She-Wish Band of

 4   Pottawatomi Indians v. Patchak, 567 U.S. 209, 224-25 (2012). Agency action is “presumptively

 5   reviewable,” and a party’s interest need only be “arguably within” a statute’s zone of interests. Id.

 6   (emphasis added). Statutes must be viewed “in the overall context” of the broad “statutory

 7   scheme,” and Congress’s intent to exclude a category of plaintiffs from judicial review must be

 8   “fairly discernible” from that scheme. Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 401, 399 (1987).

 9           In Patchak, the Supreme Court found the zone of interests test satisfied by a plaintiff

10   purporting harms to his environmental and aesthetic interests caused by federal government

11   action allegedly in excess of its authority under a statute authorizing acquisition of land for

12   American Indian tribes. 567 U.S. at 213, 224-28. The Court reasoned that although the statute

13   governed land “acquisition,” the contemplated use of the acquired land was entwined with the

14   purpose of the statute and, thus, the harm to the neighboring landowner from that use fell within

15   the statute’s zone of interests. Id. at 225-26. Here, § 8005 and § 9002, which incorporates § 8005

16   by reference), is even more closely entwined with the ultimate “use” of the funds at issue,

17   because under § 8005 funds can only be transferred if they are used for higher priority items and

18   unforeseen military requirements, and not used for an item for which Congress has denied

19   funding. Thus, the harms to the Plaintiff States from the use of the funds transferred under

20   §§ 8005 and 9002 bring them within the zone of interests of those statutes.

21           Defendants offer little analysis of the zone of interests test. They merely assert, without

22   explanation, that the test is not satisfied here because § 8005 “exists to govern the relationship

23   between Congress and DoD with respect to military spending, not protect the State’s interest in

24   environmental protection.” Opp’n 10. But they offer no reason why the zone of interests should

25   be limited to parties that Congress intended to benefit. Indeed, one of the very cases they cite

26   (Opp’n 10 n.4) expressly recognizes that “there need be no indication of congressional purpose to

27   benefit the would-be plaintiff.” City of Sausalito v. O’Neill, 386 F.3d 1186, 1200 (9th Cir. 2004).

28   Thus, in considering an appropriations-related statute, Scheduled Airlines Traffic Offices, Inc. v.
                                                      2
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 8 of 23



 1   Dep’t of Def., 87 F.3d 1356, 1359 (D.C. Cir. 1996), the court ruled that although the statute was

 2   not intended to benefit anything “other than the public fisc and Congress’s appropriations power,”

 3   id. at 1359-60, private plaintiffs fell within its zone of interests because their interest was

 4   “sufficiently congruent” with the statute and not “more likely to frustrate than to further . . .

 5   statutory objectives.” Id. at 1360 (quoting Clarke, 479 U.S. at 397). The same is true here.

 6   Sections 8005 and 9002 were intended to “tighten congressional control of the re-programming

 7   process,” H.R. Rep. No. 93-662, at 16-17 (1973), and Plaintiff States’ interest in avoiding harm to

 8   their environment (and, as shown below, sovereignty) from Defendants’ skirting of those

 9   limitations is congruent with that objective and likely to further it.

10           Likewise, the legislative history for § 284 manifests Congress’s intent to limit the scale of

11   DOD support for DHS. DOD resources were not to “primarily be used to fund” counter-drug

12   activities of other agencies. H.R. Rep. No. 101-665, at 203 (1990). The interests expressed in

13   these limitations are “congruent” with the Plaintiff States’ interests in ensuring that Defendants do

14   not evade such limitations in a manner that harms them. Scheduled Airlines, 87 F.3d at 1359.

15   There is nothing in the text and legislative history of § 284 that even hints that states would be

16   precluded from protecting their sovereign interests from the environmental impact that naturally

17   ensues from the “[c]onstruction of roads and fences” within their boundaries. See Kansas v.

18   United States, 249 F.3d 1213, 1223 (10th Cir. 2001) (“Surely Congress did not intend to render

19   the State powerless to protect its sovereign interests in this situation.”).

20           Defendants’ objection that “[n]othing in the statute suggests that Congress intended to

21   give states a remedy for protecting against the alleged negative externalities of barrier

22   construction,” Opp’n 13, also misses the mark. As noted above, the zone of interests test does not

23   require any intent to benefit a party, much less to create a right of action. See City of Sausalito,

24   386 F.3d at 1200. Moreover, to the extent that Defendants are arguing that no party could bring a

25   claim to challenge their unlawful diversions under these provisions, they are turning the “strong

26   presumption favoring judicial review” on its head. Mach Mining, LLC v. E.E.O.C., 135 S. Ct.

27   1645, 1651 (2015). This presumption may be overcome only with “clear and convincing

28   evidence” to preclude judicial review. Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.
                                                      3
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 9 of 23



 1   402, 410 (1971). Defendants do not—and cannot—present such evidence. Indeed, they fail to

 2   offer any reason why Congress would not want to allow the Plaintiff States to enforce these

 3   provisions’ limitations. Thus, Plaintiff States are “suitable challenger[s] to [enforce] the statute.”

 4   First Nat’l. Bank & Tr. Co. v. Nat’l Credit Union Admin., 988 F.2d 1272, 1275 (D.C. Cir. 1993).

 5                2.     Defendants Exceeded Their Authority Under § 8005
 6         Defendants dispute this Court’s interpretation of the terms “item,” “denied,” and

 7   “unforeseen” in § 8005, Opp’n 10, but fail to offer any persuasive rationale for their strained

 8   interpretation of these terms. First, Defendants contend that when § 8005 refers to an “item for

 9   which funds are requested,” it means “a particular budget item requiring additional funding

10   beyond the amount in the DoD appropriations for the fiscal year.” Id. 11. Although they note that

11   § 8005 appears in a DOD appropriations statute, they do not dispute this Court’s determination

12   that there is nothing in the language or legislative history of the provision suggesting such a limit.

13   States PI Order 16; Sierra Club PI Order 34. Even more fundamentally, Defendants make no

14   attempt to explain why Congress would have wanted to allow DOD to make transfers for items

15   that it had denied to other parts of the executive branch, thereby confirming that their proffered

16   interpretation is implausible as well as contradicted by the provision’s plain language.

17         Second, Defendants repeat the unsupportable assertion that, in determining whether there

18   was an “unforeseen” military requirement, the analysis should focus not on the underlying

19   requirement for border barriers, but rather on “DOD’s support for the projects requested by DHS

20   under § 284.” Opp’n 11. As this Court already has observed, this interpretation is “not

21   reasonable,” States PI Order 18; Sierra Club PI Order 36. Notably absent from Defendants’ brief

22   is any attempt to show why Congress would have intended to condition the use of § 8005 on the

23   existence of such a request or otherwise show that its interpretation of “unforeseen” is reasonable.

24   Defendants likewise ignore the evidence that as of early 2018, Defendants were considering use

25   of “DOD’s support for the projects requested by DHS under § 284.” Compare Pls.’ MSJ 11 &

26   RJN Ex. 8 ¶ 2, with Opp’n 11.

27         Third, the mere fact that Congress has authorized DOD to use its resources under § 284 in

28   some instances to construct fencing, Opp’n 11-12, does not automatically make border barrier
                                                    4
     Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 10 of 23



 1    construction a “military requirement.” The Ninth Circuit has rejected an interpretation of the

 2    word “requirement” to “include permission.” See Feldman v. Wood, 335 F.2d 264, 265 (9th Cir.

 3    1964). “This simply is not the meaning of the word. A right to do an act is far different from a

 4    requirement to do it.” Id.

 5          Finally, Defendants’ reliance (Opp’n 12) on Lincoln v. Vigil, 508 U.S. 182 (1993), is

 6    misplaced. That case dealt with a lump-sum appropriation, which is a far cry from the highly

 7    restricted authority granted in § 8005, and Lincoln recognized that in any case, “an agency is not

 8    free simply to disregard statutory responsibilities.” Id. at 193. Far from suggesting that the

 9    exercise of such authority cannot raise constitutional questions, Lincoln noted that the

10    constitutional issues raised in that case were not ripe and remanded for consideration of those

11    claims. Id. at 195 (recognizing that “in the absence of a clear expression of contrary congressional

12    intent, . . . judicial review will be available for colorable constitutional claims”).

13                 3.     Defendants Have Exceeded Their Authority Under § 9002
14            First, it is undisputed that Defendants’ transfer of funds via § 9002 must satisfy the same

15    criteria as § 8005, Opp’n 12, so the purported transfer under § 9002 is unlawful for the same

16    reasons as the transfer under § 8005. Second, Defendants argue that because Congress and the

17    president have issued designations under Title IX of the FY 2019 DOD Appropriations Act, Pub.

18    L. No. 115-245, 132 Stat. 2981 (2018) (FY 2019 DOD Appropriations Act), the transfer of funds

19    is legal under § 9002 itself. Opp’n 12-13. However, Defendants fail to address the key point that

20    because the funds are specifically “designated by the Congress for Overseas Contingency

21    Operations/Global War on Terrorism [OCO/GWOT],” their use of the funds must be consistent

22    with those purposes. FY 2019 DOD Appropriations Act at 3042. Defendants do not plan to use

23    the funds diverted here for OCO/GWOT purposes. The construction of a wall along our southern

24    border does not occur overseas.

25            Also, per the president’s designation, OCO/GWOT appropriations for FY 2019 are only

26    meant to cover “costs necessary to achieve U.S. national security goals in Afghanistan, the

27    broader Middle East, and other designated conflict zones and to address other emergent crises.”

28    Partial MSJ RJN Ex. 9. Defendants argue that the “national emergency on the southern border” is
                                                     5
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 11 of 23



 1    within “other emergent crises” in the president’s designation. Opp’n 13. However, in the Sierra

 2    Club case, this Court rejected a similar argument by Defendants regarding the term “other

 3    activity” under 10 U.S.C. § 2801(a), ruling that Defendants’ attempt to use this catchall term to

 4    encompass the border barrier was inconsistent with the noscitur a sociis and ejusdem generis

 5    canons of construction and would render the specific list of locations meaningless. Sierra Club PI

 6    Order 42-46. This Court’s reasoning applies with equal force to the catchall “other emergent

 7    crises” term, which “appears after a list of closely related types” of overseas conflict zones. Id.

 8    45. Accepting Defendants’ interpretation would render the list of overseas conflict zones in the

 9    designation meaningless, id., and thus, “other emergent crises” should be read as covering only

10    similar armed conflicts overseas.

11                 4.     Defendants Have Exceeded Their Authority Under § 284
12           Defendants do not attempt to explain why Congress would have required DOD to provide

13    notice for “small scale construction” projects of $750,000 or under, 10 U.S.C. § 284(h)(1)(B),

14    (i)(3), but not for a massive construction project such as the one proposed here. Opp’n 14-15.

15    Defendants’ response is that, for whatever reason, this is the outcome that Congress intended, and

16    posit that “nothing in the statute even arguably defines any upper limit” on DOD’s support. Id.

17    But this Court has already rejected Defendants’ view; Congress “does not, one might say, hide

18    elephants in mouseholes.” States PI Order 21 (quoting Whitman v. Am. Trucking Ass’ns, 531 U.S.

19    457, 468 (2001)); Sierra Club PI Order 39-40. Just as Congress did not authorize DOD’s

20    resources to “primarily be used to fund the drug war,” see Opp’n 14 n.5 & H.R. Rep. 101-665, at

21    20 (1990), Congress did not authorize DOD to “primarily” fund DHS’s border wall project.

22          Defendants also provide no evidence that “Congress’s past approval of relatively small

23    expenditures,” States PI Order 21; Sierra Club PI Order 39, approaches the level of the multi-

24    billion-dollar project contemplated here. This Court already considered these previous DOD

25    projects that Defendants again rely on in their Opposition (at 14), and found that they do not

26    speak “to Defendants’ current claim that the Acting Secretary has authority to redirect sums over

27    a hundred orders of magnitude greater to that account in the face of Congress’ appropriations

28    judgment in the CAA.” States PI Order 21; Sierra Club PI Order 39.
                                                     6
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 12 of 23



 1          Finally, Defendants erroneously claim the Plaintiff States “do not dispute that the projects

 2    at issue are being constructed in ‘drug smuggling corridors’ along the U.S.-Mexico border.”

 3    Opp’n 14. The factual predicates for this conclusion were not put at issue until Defendants’

 4    current motion; Defendants should not be granted summary judgment based on these disputed

 5    facts. For example, while Defendants proffer a declaration stating there have been “107 drug

 6    events between border crossings in the El Centro Sector” in this fiscal year, ECF No. 182-9, ¶ 8,

 7    the declaration fails to state where any of these events occurred within the 70-mile wide El Centro

 8    Sector, encompassing approximately 100,000 square miles. Supplemental Request for Judicial

 9    Notice (Supp. RJN) Exh. 10. And public statements issued by the Border Patrol show that the

10    majority of border patrol agent drug seizures occur at vehicle inspection checkpoints along U.S.

11    highways that are 30 to 40 miles from the border and nowhere near the proposed El Centro

12    Project 1. Cayaban Decl. ¶¶ 6-15; Supp. RJN Exhs. 11-28. In light of these statements,

13    Defendants have not carried their burden of proof to show that drug corridors exist in the relevant

14    locations. 2

15          B.       Defendants’ Actions Violate the United States Constitution
16          Defendants again rely on Dalton v. Specter, 511 U.S. 462 (1994), as a reason to ask this

17    Court to not consider the serious constitutional infirmities that arise from Defendants’ statutory

18    interpretation and illegal diversions. Opp’n 15-16. But Dalton does not (and could not) hold that a

19    constitutional claim does not arise when the executive branch is exerting its powers based on a

20    statute that is itself unconstitutional, Clinton v. City of New York, 524 U.S. 417, 445 (1998), nor

21    did it upend the cardinal principle that “[s]tatutes must be interpreted to avoid serious

22    constitutional problems,” States PI Order 18 (citing Zadvydas v. Davis, 533 U.S. 678, 689

23    (2001)); Sierra Club PI Order 36-37 (same). Moreover, while Dalton rejected the suggestion that

24    the Constitution is violated “whenever the President acts in excess of his statutory authority,” 524

25    U.S. at 471, it did not hold that an independent constitutional claim cannot lie when the president

26    acts without statutory authority. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587-

27    2
       Similarly, for the El Paso Sector, which shares a 180-mile land border with Mexico and
      encompasses 125,000 square miles (Supp. RJN Ex. 10), Defendants have failed to produce any
28    evidence to support an inference that the project areas include drug-smuggling corridors.
                                                       7
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183            Filed 06/24/19       Page 13 of 23



 1    88 (1952). Dalton merely held that Plaintiffs could not sustain a constitutional claim premised

 2    solely on an allegation that the president “violated the terms” of a statute governing the closure of

 3    military bases. 511 U.S. at 472-74. Here, while the Plaintiff States allege that Defendants

 4    exceeded their authority, see supra 1-7, they also bring independent constitutional claims based

 5    directly on specific limitations in the Constitution. Consequently, as this Court implicitly

 6    recognized in considering the “serious constitutional questions” that arise from Defendants’

 7    reading of § 8005, States PI Order 18-24; Sierra Club PI Order 36-42, nothing bars this Court

 8    from addressing the constitutionality of Defendants’ actions. Thus, the Court should reject

 9    Defendants’ reliance on Dalton and find their actions unconstitutional.

10                 1.     Defendants Violated Separation of Powers Principles
11          Defendants assert there is no separation of powers violation because they acted pursuant to

12    authority granted by Congress, rather than the president’s inherent authority. Opp’n 16. That is

13    wrong. Although § 284 authorizes the use of DOD resources for fencing construction in certain

14    instances, Defendants cannot exercise this general statutory authority in a manner that is

15    “incompatible with the expressed or implied will of Congress,” Youngstown, 343 U.S. at 637

16    (Jackson, J., concurring), to not provide any barrier funding for FY 2019 beyond the $1.375

17    billion approved by Congress in the Consolidated Appropriations Act, Pub. L. No. 116-6, § 230,

18    133 Stat. 13, 28 (2019) (CAA). “It is one thing to draw an intention of Congress from general

19    language . . . where Congress has not addressed itself to a specific situation. It is quite impossible,

20    however, when Congress did specifically address itself to a problem . . . to find secreted in the

21    interstices of legislation the very grant of power which Congress withheld”; Youngstown, 343

22    U.S. at 609 (Frankfurter, J., concurring); States PI Order 16; Sierra Club PI Order 34.

23          Defendants are also incorrect that Congress must include an express prohibition to prevent

24    Defendants from using anything beyond the $1.375 billion. Opp’n 16. As this Court recognized,

25    “it is not Congress’s burden to prohibit the Executive from spending the Nation’s funds: it is the

26    Executive’s burden to show that its desired use of those funds was affirmatively approved by

27

28
                                                             8
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 14 of 23



 1    Congress.” States PI Order 22 (internal quotation omitted); Sierra Club PI Order 40. 3 Defendants

 2    have offered no new arguments to satisfy that burden here.

 3                 2.     Defendants Violated the Appropriations Clause
 4          Defendants do not dispute that the Appropriations Clause generally prohibits the executive

 5    branch from “evad[ing] . . . congressionally established spending limits” made in a specific

 6    appropriation by using a general appropriation for the same purpose. GAO Red Book at 3-408.

 7    Instead, they assert that the specific/general principle does not apply here because they are using

 8    appropriations from one agency, DOD, to supplement an appropriation of another, DHS. Opp’n

 9    16-17. Defendants, however, offer no authority or justification for such a distinction. Moreover,

10    in the most analogous case, the GAO prohibited one DOD subagency from using a general

11    appropriation to dredge a river where a different subagency of DOD had funds appropriated for

12    the function of dredging. Id. at 3-408 to -09 (citing to B-139510). And this Court was correct that

13    the Appropriations Clause is not so feeble as to permit executive branch officials “displeased with

14    a restriction . . . imposed by Congress,” Office of Pers. Mgmt v. Richmond, 496 U.S. 414, 428

15    (1990), to use DOD to “make a de facto appropriation to DHS, evading congressional control

16    entirely.” States PI Order 22; Sierra Club PI Order 40.

17          While Defendants observe that typically “[a]n agency’s discretion to spend appropriated

18    funds is cabined only by the text of the appropriation.” Opp’n 17 (quoting Salazar v. Ramah

19    Navajo Chapter, 567 U.S. 182, 200 (2012)), the observation does not help Defendants here. The

20    specific/general principle does not require this Court to look beyond the text of the relevant

21    appropriations—the general drug-interdiction appropriation in the FY 2019 DOD Appropriations

22    Act, 132 Stat. at 2997, and the specific appropriation for barrier funding for the Rio Grande

23    Valley subject to enumerated conditions in the CAA, §§ 230-32. Based on the text of these two

24    appropriations, and the specific/general principle, it is clear that $1.375 billion was all that

25    Congress intended to provide for barrier construction in FY 2019 “from whatever source.”

26    Nevada v. DOE, 400 F.3d 9, 16 (D.C. Cir. 2005).

27    3
        Although an explicit prohibition was unnecessary, Congress did prevent the executive branch
      from using a provision such as 10 U.S.C. § 284 to “increase . . . funding for a program, project, or
28    activity as proposed in the President’s budget request for a fiscal year.” CAA § 739.
                                                       9
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 15 of 23



 1          Defendants are also wrong that application of the specific/general principle here is

 2    “tantamount to a repeal by implication” of § 284. Opp’n 17 n.8. Implicit spending limits set by

 3    Congress for a fiscal year are not the same as the “change [of] substantive law through

 4    appropriations measures.” United States v. Will, 449 U.S. 200, 222 (1980). Section 284 is not a

 5    “substantive law” that requires the agency to take a certain action; it is an authorization that DOD

 6    can act upon if there is a valid appropriation. And reading implicit spending limits set by

 7    Congress into appropriations bills for a given fiscal year is widely understood as necessary to

 8    ensure that agencies act in furtherance of a valid appropriation. See Nevada, 400 F.3d at 16; GAO

 9    Red Book at 3-16-17 (reading the specific/general principle as part of the “necessary expense”

10    rule); id. at 3-409 (collecting a “legion” GAO cases supporting this principle).

11          Finally, contrary to Defendants’ contention, DOD could use its authority under § 284 even

12    in years where Congress made specific appropriations to DHS for border fence construction.

13    Opp’n 17 n.8. If Congress had made clear in the appropriations bill its “intent to make a general

14    appropriation available to supplement or increase a more specific appropriation, or to relieve

15    [DOD] of the need to elect to use a single appropriation,” GAO Red Book 3-411, DOD could also

16    have invoked its § 284(b)(7) authority. Additionally, Defendants overlook that in the past,

17    Congress has provided DOD with specific appropriations to provide support at the border,

18    including for barrier construction. See, e.g., Pub. L. No. 110-116, 121 Stat. 1295, 1299 (2007)

19    (appropriating hundreds of millions of dollars to DOD for support to DHS “including . . .

20    installing fences and vehicle barriers”); Pub. L. No. 109-234, 120 Stat. 418, 480 (2006) (same);

21    Pub. L. No. 101-511, 104 Stat. 1856, 1873 (1990) (appropriating $28 million for drug

22    surveillance program at border). Thus, Congress knows how to provide a specific appropriation to

23    DOD to support DHS’s border-barrier construction activities despite the existence of a specific

24    appropriation for DHS for that very same purpose, but declined to do so for FY 2019.

25                 3.     Defendants Violated the Presentment Clause
26          Defendants’ passing rebuttal to the States’ Presentment Clause argument disregards the

27    similarities between the president’s unilateral modification of Congress’ $1.375 billion

28    appropriation for barrier construction in the CAA here and the president’s cancellation of select
                                                      10
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 16 of 23



 1    appropriations in Clinton v. City of New York. Opp’n 17-18. In City of New York, both houses of

 2    Congress passed appropriations bills, the president signed those bills into law and,

 3    simultaneously, rejected two provisions of those appropriations bills. 524 U.S. at 436. Here, in the

 4    face of a request for $5.7 billion in barrier funding, both houses of Congress passed the CAA with

 5    only $1.375 billion in barrier funding and only for the Rio Grande Valley, the president signed

 6    that bill into law and, simultaneously, added $6.7 billion to that appropriation without geographic

 7    limitation of where barriers may be built. Sierra Club PI Order 4-8. Like the line-item veto in City

 8    of New York, the president’s unilateral actions here “rely[] on [the president’s] own policy

 9    judgment” in “rejecti[on] [of] the policy judgment made by Congress,” based “on the same

10    conditions that Congress evaluated when it passed those statutes.” 524 U.S. at 438, 443-44. This

11    subversion of “the difficult judgments reached by Congress” violates the Presentment Clause.

12    States PI Order 16 (internal quotation omitted); Sierra Club PI Order 34.

13          C.     Defendants Have Violated the APA
14          Defendants do not dispute Plaintiff States have stated a claim under the APA that

15    Defendants’ actions are “contrary to constitutional right, power, privilege, or immunity” and in

16    excess of statutory authority. 5 U.S.C. § 706(2)(B)-(C); see Opp’n 10 n.4. In addition, the States

17    have shown that Defendants’ actions are arbitrary and capricious, further violating the APA. 5

18    U.S.C. § 706(2)(A). Even if DOD is owed some “deference” concerning its assessment of

19    military preparedness, under the APA, courts still must review whether the “agency considered

20    the relevant factors and articulated a rational connection between the facts found and the choices

21    made.” Crickon v. Thomas, 579 F.3d 978, 982 (9th Cir. 2009). The Administrative Record shows

22    that then-Director of the Army Staff, General Joseph M. Martin, set forth a number of adverse

23    consequences to the Army’s core functions if funds were diverted to a border barrier. Pls.’ MSJ

24    17-18; AR 51. Rather than attempting to dispute the validity of General Martin’s assessment,

25    Defendants dismiss this three-star general as a “lower ranking DoD official” and ignore the fact

26    that the problems that he sets forth are “pressing unfunded readiness requirements,” AR 51, not

27    merely a list of “various alternative Army projects to which funds could be transferred.” Opp’n

28    18 n.9. And Defendants do not explain whether or how DOD took General Martin’s assessment
                                                   11
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 17 of 23



 1    into account. The Administrative Record instead indicates that they ignored it, thereby “entirely

 2    fail[ing] to consider an important aspect of the problem” in violation of the APA. Motor Vehicle

 3    Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

 4    II.   CALIFORNIA AND NEW MEXICO ARE ENTITLED TO INJUNCTIVE RELIEF
 5          A.     California and New Mexico Would Suffer Irreparable Harm
 6                 1.     Harms to California’s and New Mexico’s Sovereignty
 7          Tellingly, Defendants do not dispute that, but for Defendants’ illegal transfer of funds,

 8    California and New Mexico would face harm to their sovereign interests in the protection of their

 9    air quality, water quality, and wildlife through the enforcement of their laws and regulations.

10    Compare Pls. MSJ 19-21 with Opp’n 19-20. Instead, Defendants argue this injury is not

11    cognizable because this Court preliminarily upheld Defendants’ use of the IIRIRA waiver. Opp’n

12    20. 4 Defendants miss the point. Defendants can only effectuate the IIRIRA waiver to the

13    detriment of the States if they have the funds to do so; without the funds to proceed with

14    construction, the IIRIRA waiver is meaningless. Therefore, even if this Court upholds

15    Defendants’ use of the IIRIRA waiver permanently in the future (and Plaintiff States believe it

16    should not), Plaintiff States’ ability to implement their laws is still undermined, which undeniably

17    infringes their sovereign interests. Kansas, 249 F.3d at 1227.

18          Defendants assert that the cases cited by Plaintiff States involved “irreparable injury from

19    judicial injunctions prohibiting the enforcement of state law.” Opp’n 19. But Defendants’

20    construction activities, when combined with the IIRIRA waiver, have the similar effect of

21    interfering with the States’ ability to “employ . . . duly enacted statute[s]” enacted by the

22    representatives of the people of California and New Mexico, Maryland v. King, 567 U.S. 1301,

23    1301 (2012) (Roberts, C.J., in chambers), and engage “in investigation and examination” on

24    issues surrounding the States’ environment, wildlife, and natural resources, New Motor Vehicle

25    Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers). For

26    example, a California water quality agency will be prevented from ensuring El Centro Project 1

27
      4
       Plaintiff States’ NEPA claim is not at issue in this motion and will be addressed in the second
28    motion for summary judgment under the Court’s Scheduling Order (ECF No. 174).
                                                       12
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 18 of 23



 1    complies with water quality standards, Pls.’ MSJ 6, and New Mexico will be limited in its ability

 2    to review and enforce a dust-control implementation plan for the construction of El Paso Project

 3    1, id. 8. Defendants do not explain why such injuries are not judicially cognizable.

 4          Moreover, Defendants ignore a crucial case cited by the Plaintiff States, Kansas v. United

 5    States, Pls.’ MSJ 20, which did not involve the injunction of a state law. There, the Tenth Circuit

 6    determined that the federal National Indian Gaming Commissions’ decision to classify lands

 7    within Kansas as “Indian land” divested the state of regulatory authority over those lands, which

 8    was “sufficient to establish the real likelihood of irreparable harm” to the State’s “sovereign

 9    interests.” Kansas, 249 F.3d at 1227-28. Likewise, here, Defendants’ effectuation of the IIRIRA

10    waiver through illegally obtained funds limits the ability of the States to enforce and implement

11    state laws and regulations, and thus, irreparably injures the States’ sovereign interests.

12          Defendants insist these harms should not matter because the IIRIRA waiver has been

13    preliminarily deemed by this Court to be valid, federal law is supreme, and state law is

14    subordinate to it. Opp’n 19-20. But state law’s displacement by federal law depends upon the

15    federal government, in this case, the executive branch, acting in accordance with the Constitution.

16    See City of New York, 524 U.S. at 450 (Kennedy, J., concurring) (“The idea and the promise were

17    that when the people delegate some degree of control to a remote central authority, one branch of

18    government ought not possess the power to share their destiny without a sufficient check from the

19    other two.”). Thus, if this Court concludes that Defendants’ actions are unlawful, to maintain the

20    proper structural balance that our Constitution demands, California and New Mexico are entitled

21    to injunctive relief to prevent the irreparable harm that would befall their sovereign interests.

22                 2.     Harms to California’s and New Mexico’s Environment, Wildlife, and
                          Natural Resources
23

24          Defendants do not dispute that California and New Mexico will suffer harm to their

25    environment, wildlife, and natural resources. Instead, they challenge the magnitude of that harm.

26    See, e.g., Opp’n 21 (“even if some sheep abandon habitat near the El Centro 1 Project”), 22

27    (“very little new land will be disturbed”). For instance, Defendants do not dispute that El Centro

28    Project 1 and El Paso Project 1 could harm wildlife, including endangered species such as the
                                                     13
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183           Filed 06/24/19        Page 19 of 23



 1    Peninsular Bighorn Sheep and the Mexican Wolf. See id. Instead, they assert the States must

 2    demonstrate that “population- or species-level harms will result absent an injunction.” Opp’n 20-

 3    21. This Court has already rejected this requirement. States PI Order 31-32. The evidence of

 4    potential death, interference with breeding and genetic diversity, and harm to these various

 5    wildlife species (Pls.’ MSJ 19-24) is sufficient to establish irreparable harm. Nat’l Wildlife Fed’n

 6    v. Burlington N.R.R., 23 F.3d 1508, 1512-13 (9th Cir. 1994); see also States PI Order 31.

 7          Defendants also try to dispute the harms to Plaintiff States’ wildlife with speculation about

 8    mitigation measures. Defendants claim Customs and Border Protection (CBP) “will likely

 9    recommend” mitigation measures to DOD that “could reduce” impacts to endangered Peninsular

10    Bighorn Sheep and make similar statements concerning other species. Opp’n 21-22 (emphasis

11    added). Defendants also state CBP will identify construction Best Management Practices, as well

12    as other mitigation measures which “may” be implemented post-construction, without specifying

13    which of those practices CBP will propose for these projects or how it will ensure that DOD

14    adopts them, much less whether these measures would mitigate all the harms in question. Opp’n

15    Ex. 6 (Enriquez Decl. ¶¶ 33, 50, 59) (emphasis added). And these statements of anticipated

16    mitigation are themselves admissions that harm will occur. Thus, Defendants’ attempts are

17    insufficient to eliminate California and New Mexico’s “expos[ure] to some significant risk of

18    irreparable injury,” see Associated Gen. Contractors of California, Inc. v. Coal. for Econ. Equity,

19    950 F.2d 1401, 1410 (9th Cir. 1991), especially given that CBP’s assertions of speculative

20    mitigation measures are non-binding.

21          B.     The Balance of Hardships and Public Interest Favor Granting a
                   Permanent Injunction
22

23          The balance of hardships and public interest support permanently enjoining Defendants’

24    illegal diversion of funds under §§ 8005, 9002 and 284 to construct border barriers. Defendants

25    point to the federal government’s interest in drug interdiction, Opp’n 6-8, 23, but there is no

26    evidence in the record demonstrating that the planned construction in the El Paso and El Centro

27    sectors will have any impact on drug smuggling. See supra 7; see also Cayaban Decl. ¶¶ 6-15;

28    LeMaster Decls., ECF Nos. 182-8, 182-9; Supp. RJN Exhs. 10-28. Defendants also assert that
                                                  14
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183             Filed 06/24/19      Page 20 of 23



 1    they may be deprived of the funds they seek to transfer because that funding will lapse at the end

 2    of the fiscal year. Opp’n 23. Defendants, however, are free to use these funds on other projects

 3    before the end of the fiscal year, and even if funding lapses, the money will remain in the United

 4    States Treasury. More importantly, the government “cannot suffer harm from an injunction that

 5    merely ends an unlawful practice,” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013),

 6    and even if it could, such harm would be counterbalanced by the public’s interest in ensuring that

 7    Defendants comply with the law. See E. Bay Sanctuary Covenant v. Trump, 909 F.3d 1219, 1255

 8    (9th Cir. 2018). Defendants’ final argument is that they would incur penalties to contractors.

 9    Opp’n 24. Any such penalties, however, are of Defendants’ own making, see McFadden Decls.,

10    ECF Nos. 182-13, 182-14, and they do not outweigh the public interest in ensuring that

11    Defendants follow the law. Thus, the balance of equities and public interest decidedly support

12    granting a permanent injunction.

13          C.     Enjoining Any Use of §§ 8005, 9002, and 284 for Barrier Construction in
                   California and New Mexico Is Appropriate
14

15          There is no merit to Defendants’ assertion that the States’ requested injunctive relief is

16    overly broad. Opp’n 24-25. The States seek a narrow injunction to prohibit Defendants’ diversion

17    of funds under §§ 8005, 9002, and 284 to construct border-related infrastructure in California and

18    New Mexico. ECF No. 176-1. If this Court determines that Defendants acted unlawfully in

19    transferring funds via §§ 8005, 9002, and 284 for barrier construction, limiting any injunction to

20    just the El Centro Project 1 and El Paso Project 1 could leave Defendants unconstrained from

21    diverting funds to construct other border infrastructure projects within California and New

22    Mexico using those same provisions. Therefore, the relief requested is appropriate. And because

23    Defendants have not satisfied the factors in Nken v. Holder, 556 U.S. 418 (2009), they are not

24    entitled to a stay. Id. at 434.

25                                                  CONCLUSION

26          For the foregoing reasons, Plaintiff States of California and New Mexico request that the

27    Court grant their motion for partial summary judgment in full and deny Defendants’ cross-

28    motion.
                                                             15
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183             Filed 06/24/19      Page 21 of 23



 1    Dated: June 24, 2019                                         Respectfully submitted,

 2                                                                 XAVIER BECERRA
                                                                   Attorney General of California
 3                                                                 ROBERT W. BYRNE
                                                                   SALLY MAGNANI
 4                                                                 MICHAEL L. NEWMAN
                                                                   Senior Assistant Attorneys General
 5                                                                 MICHAEL P. CAYABAN
                                                                   CHRISTINE CHUANG
 6                                                                 EDWARD H. OCHOA
                                                                   Supervising Deputy Attorneys General
 7                                                                 BRIAN J. BILFORD
                                                                   NOAH M. GOLDEN-KRASNER
 8                                                                 SPARSH S. KHANDESHI
                                                                   HEATHER C. LESLIE
 9                                                                 JANELLE M. SMITH
                                                                   JAMES F. ZAHRADKA II
10
                                                                   /s/ Lee I. Sherman
11
                                                                   LEE I. SHERMAN
12                                                                 Deputy Attorneys General
                                                                   Attorneys for Plaintiff State of California
13
       HECTOR BALDERAS
14     Attorney General of New Mexico
       TANIA MAESTAS (appearance pro hac vice)
15     Chief Deputy Attorney General
       NICHOLAS M. SYDOW
16     Civil Appellate Chief
       JENNIE LUSK
17     Assistant Attorney General, Director
       MATTHEW L. GARCIA
18     Governor’s General Counsel
       Attorneys for Plaintiff State of New Mexico
19

20

21

22

23

24

25

26

27

28
                                                             16
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
     Case 4:19-cv-00872-HSG              Document 183             Filed 06/24/19      Page 22 of 23



 1                                      ATTESTATION OF SIGNATURES

 2
              I, Lee I. Sherman, hereby attest, pursuant to Local Civil Rule 5-1(i)(3) of the Northern
 3
      District of California that concurrence in the filing of this document has been obtained from each
 4
      signatory hereto.
 5
                                                                           /s/ Lee I. Sherman
 6
                                                                           LEE I. SHERMAN
 7                                                                         Deputy Attorney General
                                                                           Attorney for Plaintiff
 8                                                                         State of California
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                             17
      Pl. States’ Reply ISO Mot. for Partial Summ. J. and Opp’n to Defs.’ Mot. for Partial Summ. J. (4:19-cv-00872-HSG)
Case 4:19-cv-00872-HSG   Document 183   Filed 06/24/19   Page 23 of 23
